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                                                             FILED & ENTERED
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 4                                                                DEC 27 2016

 5                                                           CLERK U.S. BANKRUPTCY COURT
                                                             Central District of California
                                                             BY Ogier      DEPUTY CLERK
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 7
                             UNITED STATES BANKRUPTCY COURT
 8
                              CENTRAL DISTRICT OF CALIFORNIA
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                               SAN FERNANDO VALLEY DIVISION
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12 In re:                                        Case No.: 1:15-bk-11139-MB

13 SHAHEN MARTIROSIAN,                           Chapter 7
14                        Debtor.                Adv. Proc. No. 1:16-ap-01091-MB
15

16 VAZGEN KHACHATRYAN,
                                                 TEMPORARY RESTRAINING ORDER,
17                                               ORDER TO SHOW CAUSE REGARDING
            Plaintiff,
                                                 ISSUANCE OF A PRELIMINARY
18                                               INJUNCTION, AND ORDER DIRECTING
                    vs.
19                                               DEFENDANTS AND OTHER PARTIES
   SHAHEN MARTIROSIAN, VIRGINIA                  TO APPEAR
20 MARTIROSIAN, ANAHIT HARUTYUNYAN,
   CPI REAL ESTATE GROUP, INC.
21 dba REALTY EXECUTIVES PREMIERE
   ESCROW DIVISION, 4705 EXCELENTE INC.,
                                                 Hearing on Emergency Motion for a TRO
22 CITY NATIONAL FINANCE,
                                                 Date: December 27, 2016
23          Defendants.                          Time: 10:30 a.m.
                                                 Place: United States Bankruptcy Court
24                                                      Courtroom 303
                                                        21041 Burbank Boulevard
25                                                      Woodland Hills, CA 91367
26
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     TO THE PLAINTIFF AND ALL DEFENDANTS:
 1
            On December 27, 2016, the Court conducted a hearing on the Emergency Motion for a
 2
     Temporary Restraining Order Preventing City National Finance From Foreclosing on Property
 3
     Commonly Known as 4705 Excelente, Woodland Hills, California (Dkt. 22, the “Emergency
 4
     Motion”) filed by Plaintiff Vazgen Khachatryan (“Plaintiff”) after notice and service to the
 5
     defendants in this adversary proceeding. Plaintiff was represented by Alana Anaya, Defendants
 6
     Shahen Martirosian, Virginia Martirosian, Anahit Harutyunyan, CPI Real Estate Group, Inc. dba
 7
     Realty Executives Premiere Escrow Division, and 4705 Excelente Inc. were collectively
 8
     represented by Laura Crawford. Defendant City National Finance was represented by Filemon
 9
     Kevin Samson III. Plaintiff testified in support of the Emergency Motion and was cross-examined
10
     by counsel for all of the defendants. Jamal N. Dawood of City National Finance testified in
11
     opposition to the Emergency Motion and was cross-examined by the Plaintiff.
12
            YOU ARE HEREBY ORDERED TO SHOW CAUSE at 10:00 a.m. on January 20,
13
     2017, before this Court, in courtroom 303, located at 21041 Burbank Boulevard, Woodland Hills,
14
     California 91367 why you, your officers, agents, servants, employees, and attorneys, including
15
     without limitation, All American Foreclosure Service, and any escrow company administering an
16
     escrow with respect the Property, and all those acting in concert or participation with you or them,
17
     should not be restrained and enjoined pending trial of this adversary proceeding from foreclosing
18
     on, enforcing any deed of trust against, or facilitating the transfer of the real property commonly
19
     known as 4705 Excelente, Woodland Hills, California (the “Property”).
20
            Pending a hearing on the above Order to Show Cause, and for the reasons stated on the
21
     record at the December 27, 2016 hearing, you, your officers, agents, servants, employees, and
22
     attorneys, including without limitation, All American Foreclosure Service, and any escrow
23
     company administering an escrow with respect the Property, and all those acting in concert or
24
     participation with you or them, ARE HEREBY RESTRAINED AND ENJOINED from
25
     foreclosing on, enforcing any deed of trust against, or facilitating the transfer of the Property.
26
            Without limiting the breadth of the foregoing, Defendant City National Finance is
27
     ORDERED IMMEDIATELY to: (i) advise All American Foreclosure Service of this Temporary
28
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 1 Restraining Order, (ii) provide All American Foreclosure Service with a copy of this Temporary

 2 Restraining Order, and (iii) instruct All American Foreclosure Service that it is enjoined from

 3 proceeding with the foreclosure sale scheduled for December 28, 2016.

 4          This Temporary Restraining Order is effective without the Plaintiff filing an undertaking for

 5 the reasons stated on the record.

 6          The parties SHALL FILE AND SERVE any supplemental papers in support of, or

 7 opposition to, the issuance of a preliminary injunction, together with any additional declaration and

 8 documentary evidence in support thereof, by January 13, 2017.

 9          The parties SHALL FILE AND SERVE any responses to such supplemental papers,

10 together with any additional declaration and documentary evidence in support thereof, by January

11 18, 2017.

12          All parties SHALL APPEAR and make themselves available for examination or cross-

13 examination at the January 20, 2017 hearing on the above Order to Show Cause; no subpoena is

14 required.

15          All parties SHALL MAKE THEIR DECLARANTS AVAILABLE for examination or

16 cross-examination at the January 20, 2017 hearing on the above Order to Show Cause; no subpoena

17 is required.

18          The January 20, 2017 hearing (and all hearings in this adversary proceeding) will be

19 conducted in the English language. If any party or declarant requires a translator, such party, at

20 his/her own expense, must provide a non-party translator at the January 20, 2017 hearing and any

21 subsequent hearing.

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 1         Defendants Shahen Martirosian, Virginia Martirosian, Anahit Harutyunyan, CPI Real Estate

 2 Group, Inc. dba Realty Executives Premiere Escrow Division, and 4705 Excelente Inc. SHALL

 3 PROMPTLY MAKE THE PROPERTY AVAILABLE for inspection by Plaintiff and Plaintiff’s

 4 brokers, appraisers, engineers or other agents for the purpose of determining the value of the

 5 Property.

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23   Date: December 27, 2016
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